                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                    *

      v.                                    *         CRIMINAL NO. JKB-16-259

JUAN ENRIQUE DOMINGUEZ LOPEZ,               *

      Defendant.                            *

       *     *      *     *      *      *       *     *       *     *      *      *

                                       ORDER

For the reasons stated in open court, IT IS HEREBY ORDERED:

      1. Defendant’s Motion in Limine regarding Law Enforcement Personnel (ECF No. 62) is

DENIED WITHOUT PREJUDICE.

      2.   Defendant’s Motion in Limine regarding Gruesome Evidence (ECF No. 63) is

DENIED WITHOUT PREJUDICE.

      3.   Defendant’s Motion for Notice of Expert Witnesses (ECF No. 64) is DENIED

WITHOUT PREJUDICE.

      4.   Defendant’s Motion for Rule of Completeness As It Relates to Recorded

Conversations (ECF No. 65) is DENIED WITHOUT PREJUDICE.

      5. Defendant’s Motion to Sequester Witnesses (ECF No. 66) is GRANTED.

      6. Defendant’s Motion for Notice of Intent to Introduce Uncharged Misconduct (ECF

No. 67) is DENIED WITHOUT PREJUDICE.

      7. Defendant’s Motion in Limine to Preclude Introduction and/or Display of Seized

Items (ECF No. 69) is DENIED WITHOUT PREJUDICE.

      8. Defendant’s Motion to Suppress Physical Evidence (ECF No. 104) is DENIED.
      9. Defendant’s Motion to Suppress Photo Identification (ECF No. 105) is DENIED AS

MOOT.

      10. Defendant’s Motion to Suppress Cell Phone Data (ECF No. 106) is DENIED AS

HAVING BEEN WITHDRAWN.




DATED this 8th day of February, 2018.




                                              BY THE COURT:



                                              _____________/s/_____________________
                                              James K. Bredar
                                              Chief Judge




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